                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


 VALENCELL, INC.,                        )
                                         )
                                         )
          Plaintiff and Counterclaim     )
          Defendant,                     )             JUDGMENT IN A CIVIL CASE
 vs.                                     )                CASE NO. 5:16-CV-2-D
                                         )
 FITBIT LLC,                             )
                                         )
                                         )
          Defendant and Counterclaimant. )



Decision by Court.

IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS defendant's
consent motion for extension of time [D.E. 151] and GRANTS IN PART defendant's motion for
costs [D.E. 148]. The court taxes costs against plaintiff in the amount of $27,866.10.


This Judgment filed and entered on March 10, 2025, and copies to:
Counsel of record for the parties (via CM/ECF electronic notification)




 March 10, 2025                                      Peter A. Moore, Jr.
                                                     Clerk of Court



                                                By: /s/ Stephanie Mann
                                                    Deputy Clerk




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